UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
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SECURITIES AND EXCHANGE COMMISSION, :

                                   Plaintiff,

         -v-                                                          No. 1:23-cv-05326-LAK

LEGEND VENTURE PARTNERS LLC,

                                   Defendant.
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                                 [P~PO&ED]
                           ORDER APPROVING FIRST
             JOINT INTERIM APPLICATION OF THE RECEIVER AND
          OTTERBOURG P.C. FOR ALLOWANCE OF COMPENSATION AND
         REIMBURSEMENT OF EXPENSES INCURRED DURING THE PERIOD
           JULY 7, 2023 THROUGH AND INCLUDING SEPTEMBER 30, 2023

         THIS MATTER coming before the Court on the First Joint Interim Application of Melanie

L. Cyganowski, the receiver (the "Receiver"), and Otterbourg P.C. ("Otterbourg"), counsel for the

Receiver, for Allowance of Compensation and Reimbursement of Expenses Incurred During the

Period July 7, 2023 through and Including September 30, 2023 (the "Interim Application"). 1 [Dkt.

No. b8 ]; and the Court having considered the Interim Application and exhibits and other

documents filed in support of the Interim Application; and the Court having found that the Interim

Application complies with applicable standards for awarding fees and expenses; and after due

deliberation and for good and sufficient cause shown; it is hereby

        ORDERED that the Interim Application for the period covering July 7, 2023 through

September 30, 2023 (the "Application Period") is granted; and it is further




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 Capitalized terms utilized but not otherwise defined herein shall have the meaning ascribed to them in the Interim
Application

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         ORDERED that the Receiver's compensation for the Application Period is allowed on an

interim basis in the amount of $5,589.00 (the "Allowed Receiver Fees"); and it is further

         ORDERED that the fees requested by Otterbourg for the Application Period are allowed

on an interim basis in the amount of $65,463.20 (the "Allowed Otterbourg Fees" and, together

with the Allowed Receiver Fees, the "Allowed Fees"); and it is further

         ORDERED that Otterbourg's request for reimbursement of its out-of-pocket expenses for

the Application Period is allowed on an interim basis in the amount of $1,036.29; and it is further

         ORDERED that the Receiver will not pay any portion of the Allowed Fees until further

Court Order authorizing the payment of the Allowed Fees less the Holdback Amount.

SO ORDERED.

Dated:       't- J ,.__,   , 2023
                 I
         New York, New York


                                                     United States District Judge




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